                Case: 25-1555    Document: 90    Page: 1     Date Filed: 06/25/2025
         UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT


                                       25-1555
                                   No. __________________
                                 We Inform LLC
Atlas Data Privacy Corp. vs. ______________________________
________________________________


              07/08/2025
Calendar Date _______________                         Philadelphia, PA
                                             Location _____________________


        ACKNOWLEDGMENT AND DESIGNATION OF ARGUING COUNSEL


                         Michael L. Zuckerman
Receipt acknowledged by: __________________________________________
                                Michael L. Zuckerman
Designation of Arguing Counsel: ____________________________________

Member of the Bar:           ✔
                          ________ Yes              ________ No

Representing (check only one):

________ Petitioner(s)        ________ Appellant(s)            ✔
                                                            ________ Intervenor(s)


________ Respondent(s)       ________ Appellee(s)           ________ Amicus Curiae


Please list the name of the lead party being represented:
Intervenor-Appellee Attorney General of New Jersey
______________________________________________________________




ONLY COUNSEL WHO ARE MEMBERS OF THE BAR OF THE COURT OF APPEALS
FOR THE THIRD CIRCUIT AND WHO FILED AN APPEARANCE ARE PERMITTED TO
ARGUE BEFORE THE COURT. (BAR ADMISSION IS WAIVED FOR FEDERAL
ATTORNEYS.)
